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                                UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

     JANE DOE 1, et al,                               §
                                                      §
             Plaintiffs,                              §
                                                                 Civil Action No. 6:16-CV-00173-RP
                                                      §
     v.                                               §
                                                                                   Consolidated with
                                                      §
                                                                                     6:17-CV-228-RP
     BAYLOR UNIVERSITY,                               §
                                                                                     6:17-CV-236-RP
                                                      §
             Defendant.                               §


     BAYLOR UNIVERSITY’S ADVISORY REGARDING ITS PROPOSED RESOLUTION
                                    OF
                   DISPUTED REQUESTS FOR PRODUCTION


            Plaintiffs filed a Motion to Compel Baylor’s Responses to Requests for Production on June 8,

2018. Dkt. 330. The Court granted that motion on May 17, 2019 but then partially granted Baylor’s

motion to reconsider and set a hearing to resolve outstanding disputes between the parties regarding

Plaintiffs’ requests for production (RFPs). Dkts. 631, 674. That hearing took place on July 24, 2019.

At the conclusion of the hearing, Plaintiffs’ counsel proposed that the parties continue to confer in an

attempt to reach agreement, and for the RFPs on which the parties could not agree, Plaintiffs and

Baylor would submit their respective proposed language to enable the Court to resolve the dispute.

Dkt. 694 at 58. Despite significant efforts, the parties have been unable to reach agreement on 14 of

Plaintiffs’ 106 requests. 1

I.        Baylor’s efforts to reach agreement.

            As a threshold matter, Baylor is disappointed that the parties were unable to reach agreement



1
 Earlier today, Plaintiffs declined to sign a letter agreement memorializing the agreements the parties
were able to reach regarding many of the other requests. As Baylor was finalizing its own Advisory,
however, Plaintiffs filed their Advisory and represented that Exhibit A to that filing represents the
parties’ agreements. Baylor concurs that Exhibit A accurately reflects the parties’ agreements.


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on these requests. Based on the parties’ July 17 meeting in Waco; the representations of Plaintiffs’

counsel at the hearing on July 24 that they were not seeking litigation files, nor asking that those files

be logged; as well as the numerous phone calls between the parties following the July 24 hearing and

leading up to this submission, Baylor believed that the parties had narrowed the issues in dispute to

two (1) whether Baylor should have to produce information regarding threats of litigation from

students alleging sexual assault, after those students retained counsel, when their claims were resolved

privately and confidentially without the need for litigation; and (2) whether Baylor should have to

produce and/or log its litigation files for an employment lawsuit with a tangential relationship to one

of the alleged assailants (the Kinyon matter). Unfortunately, despite Baylor’s best efforts, that does not

appear to be the case.

        Following the July 24 hearing, the parties exchanged competing drafts of a letter agreement to

address their remaining areas of dispute. As a result of the parties’ efforts, they were able to resolve

many of their disputes, but on the requests that implicated privilege issues, the parties were not able

to reach agreement by the stated August 23 deadline and requested an additional week to confer. The

parties continued to confer over the last week. However, Plaintiffs’ counsel informed Baylor yesterday

that it was obvious the parties would not reach agreement and needed to submit competing proposals

to the Court. Baylor’s counsel requested that Plaintiffs’ counsel send the language they would find

acceptable so Baylor would know the remaining areas of dispute. This morning, Plaintiffs’ counsel

sent an email with their proposed language. Plaintiffs’ counsel have retreated from their prior

representations and verbal agreements on the remaining disputes and have reverted to unreasonable

positions including, among others, that Baylor must produce and/or log documents and

communications about actual or threatened litigation after a potential claimant has counsel—even

when the communications are about the actual or threatened litigation.




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II.   Despite previous statements to the contrary, Plaintiffs appear to be seeking litigation
      files and privileged communications—an issue that permeates all the remaining RFPs.

         As Baylor explained at the July 24 hearing, Baylor’s main objection to several RFPs is that,

 after Baylor’s overbreadth objections were overruled, the RFPs as worded would encompass

 documents and communications related to pending or threatened litigation, both internally within

 Baylor and with outside counsel retained to advise about the litigation, prepared after a claimant had

 retained outside counsel and that were about the pending or threatened litigation. (As an important

 aside, although Plaintiffs have taken the position that all of Baylor’s objections have been overruled,

 that position disregards both the Court’s order on Baylor’s motion for reconsideration and the July 24

 hearing. Baylor’s attorney-client and work product privilege objections, even for the pre-June-2016

 timeframe, could not be properly presented until the Court ruled on Baylor’s overbreadth objections.

 The post-June-2016 timeframe was not in play until after the cases were consolidated.)

         Baylor’s other concern was that, without clarification, the requests would capture

 communications with opposing counsel about other litigation, including confidential demand letters

 and settlement negotiations. 2 Baylor’s proposed language for requests implicating these concerns

 includes a narrow carve out for such documents and communications.                    Despite Plaintiffs’

 representation in their motion to compel that Baylor’s attorney-client privilege and work-product

 objections do “not even apply” to “most of the requests”—and despite Plaintiffs’ counsel’s

 representations to the Court that “communications where Baylor hires their lawyers and deals with

 their lawyers in pending litigation is not covered by our request” and that “obviously the litigation file

 doesn’t need to be logged”—Plaintiffs have refused to agree to the narrow carve-out proposed by

 Baylor. Dkt. 330 at 4; Dkt. 694 at 17-18.



 2
   It is Baylor’s belief that the Court has previously ruled that student settlements and negotiations
 regarding those settlements are not an appropriate area of discovery, but Baylor raises the issue here
 because of Plaintiffs’ position and out of an abundance of caution.


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        During the parties’ discussions to reach agreement on these issues over the last several weeks,

Plaintiffs brought up several specific areas of inquiry regarding other litigation, and Baylor attempted

to address those concerns with its RFP proposals. First, Plaintiffs requested communications with

opposing counsel for one of the alleged assailants who sued Baylor. Baylor responded by offering to

produce those communications. Second, Plaintiffs stated that they could not determine whether to

seek additional information about other litigation unless they knew what other litigation existed.

Baylor offered to provide a list to Plaintiffs of lawsuits filed by Baylor students or employees regarding

“Issues of Concern” during the relevant time period, as well as a list of any employees from whom it

has received a demand letter regarding Issues of Concern. Based on that list, Plaintiffs could then

seek additional information, if needed.

        One of the issues Baylor was aware would not be resolved by agreement related to information

about threats of litigation from other student victims regarding Issues of Concern that were

confidentially settled prior to the filing of a suit. Baylor does not believe it is appropriate, or

proportional to the needs of the case, to either identify those students or produce communications

regarding those demands. Among other things, Baylor would be required to send a FERPA notice to

those students, which would retraumatize them unnecessarily. And Plaintiffs have failed to articulate

a compelling need for documents and communications reflecting demands and settlement discussions

with students who settled their claims with Baylor without filing litigation. In fact, it is likely that one

of the reasons those students did not file suit was to avoid disclosure of their private situations to third

parties. In addition, Baylor is not aware of any Baylor student from whom it has received a demand

letter during the relevant timeframe regarding threatened litigation about Issues of Concern for which

Plaintiffs have not been provided the underlying Baylor records (such as Title IX or Judicial Affairs).

        If the Court is inclined to order production or logging of documents and communications,

either internally at Baylor or externally with outside counsel, regarding actual or threatened litigation



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  after a complainant has retained counsel even where such documents or communications are about

  the actual or threatened litigation, Baylor requests the opportunity to explain why logging is unduly

  burdensome for Baylor without a corresponding benefit to Plaintiffs and to provide evidence

  supporting the privileged nature of the documents and communications.

III.         Requests for Production Still in Dispute

               Below is a list of each RFP identified by the parties as still in dispute, along with each side’s

  proposed resolution and a brief explanation of Baylor’s position. (As noted above, Baylor’s proposals

  are often lengthier than Plaintiffs’, in large part because Baylor’s proposals specifically identify certain

  information Baylor is willing to provide in response to the requests.)


       28.      All documents and communications related to any investigation, internal or
                independent, into Issues of Concern at Baylor.
       29.      All documents and communications related to Issues of Concern reported to Baylor
                University Police Department during the past 20 years, including but not limited to
                reports of any conduct falling within an Issues of Concern.


  Baylor’s Proposal: Except for the Pepper Hamilton investigation, the parties agree that these requests
  do not seek communications with or documents prepared by outside counsel or internally at Baylor
  regarding investigations related to “Issues of Concern” that are or were the subject of pending or
  threatened litigation after a potential claimant retained outside counsel and that were about the
  pending or threatened litigation. The parties further agree that these requests do not seek documents
  or communications about such investigations exchanged with a potential claimant’s counsel or the
  litigation files maintained by Baylor’s outside counsel or internally within Baylor. Notwithstanding
  the above, Baylor agrees to produce communications with counsel for the plaintiff in C.A. No. 6:18-
  cv-00341-RP (W.D. Tex.). By doing so, however, Baylor is not waiving its right to object to producing
  settlement communications with counsel for any other students. Baylor further agrees to provide
  Plaintiffs with a list of any lawsuits filed by Baylor students or employees against Baylor from 2003
  through November 6, 2017 involving Issues of Concern, as well as a list of any employees from whom
  it has received a demand letter from outside counsel regarding Issues of Concern. The parties agree
  that these requests are limited to the time period between 2003 and November 6, 2017. Based on
  these agreements and the Court’s definition of “Issues of Concern” (146, 302 and 631), Baylor will
  withdraw all of its objections to these requests with the exception of the attorney-client and work
  product privileges (except to the extent the attorney-client privilege has been waived pursuant to Court
  Order (Dkt. 168)). Also based on these agreements, Baylor further agrees to produce documents
  relating to the special committee’s late 2016 investigation requested by Phil Stewart related to Pepper
  Hamilton. Baylor will log responsive documents and communications that it is withholding based on
  the attorney-client and work product privileges.



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Plaintiffs’ Proposal: The parties agree that these requests are limited to the time period between 2003
and November 6, 2017. Based on this agreement and the Court’s definition of “Issues of Concern”
(146, 302 and 631), Baylor will withdraw all of its objections to these requests with the exception of
the attorney-client and work product privileges (except to the extent the attorney-client privilege has
been waived pursuant to Court Order (Dkt. 168)). Also based on these agreements, Baylor further
agrees to produce documents relating to the special committee’s late 2016 investigation requested by
Phil Stewart related to Pepper Hamilton. Baylor will log responsive documents and communications
that it is withholding based on the attorney-client and work product privilege.

        For the reasons set forth above, Baylor’s main objection to the above requests (as with most

of the requests) is that, after Baylor’s overbreadth objections were overruled, the requests as worded

would encompass documents and communications related to pending or threatened litigation, both

internally within Baylor and with outside counsel retained to advise about the litigation, prepared after

a claimant had retained outside counsel and that were about the pending or threatened litigation. The

requests would further encompass documents and communications with opposing counsel, including

confidential settlement communications. Baylor’s proposed language for RFPs 28 and 29 includes a

carve out for the above documents and communications, which would relieve Baylor from having to

produce or log documents and communications related to threatened or active litigation internally,

with outside counsel, and with opposing counsel. As the Court might imagine, even logging these

documents would be a burdensome task. As to any other responsive documents or communications

that Baylor sought to withhold on the basis of attorney-client or attorney work-product privileges,

Baylor would log such documents or communications (such as communications between Baylor and

outside counsel with whom Baylor may have consulted regarding a Title IX investigation).

        During the parties’ negotiations, Plaintiffs’ counsel raised the issue of communications

between Baylor’s counsel and counsel for one of the alleged assailants who had filed suit against

Baylor. Baylor’s proposed language above would provide Plaintiffs with Baylor’s communications

with opposing counsel in that litigation. Baylor’s proposed language also includes a requirement that

Baylor will provide Plaintiffs with a list of students and employees who have filed lawsuits regarding

“Issues of Concern,” as well as a list of employees from whom it has received a demand letter from


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outside counsel regarding Issues of Concern. That way, if Plaintiffs’ counsel have any concern that

Baylor may be withholding something inappropriately on the basis of the above exclusion, Plaintiffs

can inquire further and if desired, seek additional information, at which time the parties will attempt

to agree on the issue or present the issue to the Court for resolution.

        Baylor’s proposal does not agree to identify alleged student victims who retained counsel and

threatened litigation but then resolved those matters without filing a suit, or to produce demand letters

or confidential settlement negotiations. As explained above, Plaintiffs have offered no reason why

they would be entitled to such information.

        Plaintiffs’ proposed language is not acceptable because it does not in any way attempt to

address the privilege and other issues raised above, including matters on which Plaintiffs previously

indicated the parties had reached agreement.


 42.     All documents and communications mentioning Jane Does 1-6 or any Assailant
         mentioned in Plaintiffs’ most recent filed Complaint.


Baylor’s Proposal: The parties agree that this request does not seek communications with or
documents prepared by outside counsel or internally at Baylor regarding Jane Does 1-15 or any of the
alleged Assailants in connection with Baylor’s defense of this litigation or any other litigation. The
parties further agree that these requests do not seek documents or communications about such matters
exchanged between Baylor and opposing counsel in such litigation, or litigation files maintained by
outside counsel or internally within Baylor. Based on this agreement and the Court’s definition of
“Issues of Concern” (146, 302 and 631), Baylor will withdraw all of its objections to these requests
with the exception of the attorney-client and work product privileges (except to the extent the
attorney-client privilege has been waived pursuant to Court Order (Dkt. 168)). Baylor will log
responsive documents and communications that it is withholding based on the attorney-client and
work product privileges. Notwithstanding the above agreements, Baylor agrees to produce
communications with counsel for the plaintiff in C.A. No. 6:18-cv-00341-RP (W.D. Tex.). Baylor
further represents that there are no other prior or pending lawsuits or threatened litigation against
Baylor involving any of Jane Does 1-15’s alleged assailants.

Plaintiffs’ Proposal: The parties agree that this request does not seek communications with or
documents exchanged between Baylor and its counsel regarding its defense of this litigation after the
date such litigation was filed. Based on this agreement and the Court’s definition of “Issues of
Concern” (146, 302 and 631), Baylor will withdraw all of its objections to these requests with the
exception of the attorney-client and work product privileges (except to the extent the attorney-client



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privilege has been waived pursuant to Court Order (Dkt. 168)). Baylor will log responsive documents
and communications that it is withholding based on the attorney-client and work product privileges.

        This request seeks all documents mentioning any of the Jane Does or any of the assailants. As

worded, the request seeks litigation files and communications, both internally and externally, in

connection with Baylor’s defense of this litigation, and in litigation with one of the assailants. To

address this concern, Baylor proposed language that would exclude from the request communications

with and documents prepared by outside counsel and internally (such as between employees within

Baylor’s Office of General Counsel (OGC), as well as between OGC employees and Baylor

employees, officers and Regents) in connection with the management and defense of this litigation or

any other litigation. Plaintiff’s counsel raised concerns about the lawsuit between Baylor and one of

the alleged assailants, so Baylor proposed to produce its communications with opposing counsel in

that case. Plaintiffs’ counsel mentioned another lawsuit, the Kinyon matter, which involved a Baylor

employee who was part of the committee that reinstated one of the alleged assailant’s scholarship after

it was initially cancelled by Baylor. The employee later asserted a Title IX retaliation claim. In

attempting to reach agreement on RFP 42, Baylor’s counsel informed Plaintiffs’ counsel that

documents referencing the alleged assailant, including his appeal of the cancellation of his financial

aid, would be produced, but Baylor objected to producing or logging documents referencing the

assailant that were prepared in connection with the Kinyon litigation as part of its defense of that

litigation. Baylor further opposed producing all of its communications with opposing counsel in that

litigation, which ultimately settled. Kinyon’s allegations are a matter of public record by virtue of her

federal complaint.    Baylor remains willing to discuss with Plaintiffs’ counsel specific types of

documents that they believe would be relevant to their claims in the Kinyon case, but to date, despite

Baylor’s repeated requests that they do so, Plaintiffs have declined to identify any such documents.

        Other than agreeing to exclude communications and documents with Baylor and its outside

counsel regarding this litigation, Plaintiffs’ proposal fails to address any of the above issues raised by


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Baylor.


 43.       All documents related to and communications between present and former Regents
           of Baylor University, and all documents related to and communications between
           Baylor and any present and former Regents regarding any Issues of Concern and
           Pepper Hamilton.


Baylor’s Proposal: The parties agree this request only seeks communications and documents
provided to or exchanged with present and former Regents regarding “Issues of Concern” (consistent
with the Court’s Orders - Dkt. 146, 302, 631 - limiting the definition of “Issues of Concern”) and
Pepper Hamilton. The parties further agree that this request is limited to the time period between
2003 and November 6, 2017. The parties further agree that these requests do not seek
communications and documents provided to or exchanged with Regents regarding Issues of Concern
that are or were the subject of pending or threatened litigation after a potential claimant retained
outside counsel and that were about the pending or threatened litigation. Baylor further agrees to
provide Plaintiffs with a list of any lawsuits filed by Baylor students or employees against Baylor from
2003 through November 6, 2017 involving Issues of Concern, as well as a list of any employees from
whom it has received a demand letter from outside counsel regarding Issues of Concern. Based on
this agreement, Baylor will withdraw all of its objections to these requests, with the exception of its
objections based on the attorney-client and work product privileges (except to the extent the attorney-
client privilege has been waived pursuant to Court Order (Dkt. 168)). Baylor will log responsive
document and communications that it is withholding based on the attorney-client and work product
privileges.

Plaintiffs’ Proposal: The parties agree this request only seeks communications and documents
provided to or exchanged with present and former Regents regarding “Issues of Concern” (consistent
with the Court’s Orders – Dkt. 146, 302, 631 – limiting the definition of “Issues of Concern”), Pepper
Hamilton and documents resulting from ESI searches using the Jane Does’ names and Assailants’
names. The parties further agree that this request is limited to the time period between 2003 and
November 6, 2017. Based on this agreement, Baylor will withdraw all of its objections to these
requests, with the exception of its objections based on the attorney-client and work product privileges
(except to the extent the attorney-client privilege has been waived pursuant to Court Order (Dkt.
168)). Baylor will log responsive document and communications that it is withholding based on the
attorney-client and work product privileges.

          Similar to RFPs 28 and 29, Baylor’s proposed language excludes communications with or

documents exchanged with present and former Regents regarding Issues of Concern that are or were

the subject of pending or threatened litigation prepared after a claimant had retained outside counsel

and that were about the pending or threatened litigation. As with RFPs 28 and 29, Baylor would

provide a list of lawsuits filed by students or employees regarding Issues of Concern, as well as a list




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identifying employees who sent demand letters raising Issues of Concern, but again Baylor objects to

identifying or producing confidential communications with other alleged student victims.

        Plaintiffs’ proposal is not acceptable because it does not address the privilege issues raised

above and would require production or logging of obviously privileged communications and

documents exchanged with Regents, both internally and with outside counsel, about active and

threatened litigation after a claimant retained counsel. To the extent Regents are now former, and not

current, the attorney-client privilege with those Regents remains intact related to matters for which

they were sitting Regents when they received the communication or document. Baylor would log any

documents or communications that it withholds on the basis of privilege that do not fall within the

narrow exclusion above.


 46.     All inter-department documents and communications from the Baylor Police
         Department regarding Issues of Concern.


Baylor’s Proposal: The parties agree that this request is limited to the time period between 2003 and
November 6, 2017 and seeks BUPD communications with and documents exchanged between
Baylor’s departments and BUPD, as well as internal BUPD communications, related to “Issues of
Concern” consistent with the Court’s rulings (Dkt. 146, 302, 631). The parties further agree that these
requests do not seek communications between BUPD and Baylor’s Office of General Counsel or
outside counsel regarding matters that are or were the subject of pending or threatened litigation after
a potential claimant retained outside counsel and that were about the pending or threatened litigation.
Baylor further agrees to provide Plaintiffs with a list of any lawsuits filed by Baylor students or
employees against Baylor from 2003 through November 6, 2017 involving Issues of Concern, as well
as a list of any employees from whom it has received a demand letter from outside counsel regarding
Issues of Concern. Based on this agreement, Baylor will withdraw all of its objections to these
requests, with the exception of its objections based on the attorney-client and work product privileges
(except to the extent the attorney-client privilege has been waived pursuant to Court Order (Dkt.
168)). Baylor will log responsive documents and communications that it is withholding based on the
attorney-client and work product privileges.

Plaintiffs’ Proposal: The parties agree that this request is limited to the time period between 2003
and November 6, 2017 and seeks BUPD communications between all University departments and
BUPD, as well as internal BUPD communications, related to “Issues of Concern” consistent with the
Court’s rulings (Dkt. 146, 302, 631). Based on this agreement, Baylor will withdraw all of its objections
to these requests, with the exception of its objections based on the attorney-client and work product
privileges (except to the extent the attorney-client privilege has been waived pursuant to Court Order
(Dkt. 168)). Baylor will log responsive documents and communications that it is withholding based


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on the attorney-client and work product privileges.

       Baylor proposed language similar to that for RFPs 28 and 29 to resolve the privilege and

ambiguity issues inherent in Plaintiffs’ request. In response, Plaintiffs have proposed language that

again fails to address the privilege issues referenced above, as it would encompass communications

between BUPD and the Office of General Counsel or outside counsel, that are or were the subject of

threatened or pending litigation after a potential claimant retained outside counsel, and which were

about the pending or threatened litigation. During negotiations as to this RFP, Plaintiffs’ counsel

expressed concern that BUPD had previously been involved in covering up incidents involving Issues

of Concern. Baylor believes that its proposal is narrowly tailored such that, to the extent any such

communications existed, they would necessarily be required to be produced.


 48.     All inter-department documents and communications from Baylor’s Title IX office
         regarding Issues of Concern.
 49.     All inter-department documents and communications from Baylor’s Judicial Affairs
         office regarding Issues of Concern.
 50.     All inter-department documents and communications from Baylor’s Human
         Resources Department regarding Issues of Concern.


Baylor’s Proposal: The parties agree that these requests are limited to the time period between 2003
and November 6, 2017 and seek documents and communications exchanged between Title IX,
Judicial Affairs and Human Resources and other Baylor departments (other than with Baylor’s Office
of General Counsel or outside counsel regarding matters that are or were the subject of pending or
threatened litigation after a potential claimant had retained outside counsel and that were about the
pending or threatened litigation) and internally within Title IX, Judicial Affairs and Human Resources,
related to “Issues of Concern” consistent with the Court’s rulings (Dkt. 146, 302, 631). Baylor further
agrees to provide Plaintiffs with a list of any lawsuits filed by Baylor students or employees against
Baylor from 2003 through November 6, 2017 involving Issues of Concern, as well as a list of any
employees from whom it has received a demand letter from outside counsel regarding Issues of
Concern. Based on this agreement, Baylor will withdraw all of its objections to these requests, with
the exception of its objections based on the attorney-client and work product privileges (except to the
extent the attorney-client privilege has been waived pursuant to Court Order (Dkt. 168)). Baylor will
log responsive document and communications that it is withholding based on the attorney-client and
work product privileges.

Plaintiff’s Proposal: The parties agree that these requests are limited to the time period between 2003
and November 6, 2017. Based on this agreement, Baylor will withdraw all of its objections to these
requests, with the exception of its objections based on the attorney-client and work product privileges


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(except to the extent the attorney-client privilege has been waived pursuant to Court Order (Dkt.
168)). Baylor will log responsive document and communications that it is withholding based on the
attorney-client and work product privileges.

       Similar to RFP 46, Baylor once again proposed language for RFPs 48-50 narrowly tailored to

carve out privileged communications and documents exchanged between Title IX, Judicial Affairs and

Human Resources, and the OGC or outside counsel, when those communications and documents are

about actual or threatened litigation. In defending and managing the lawsuits involving Issues of

Concern, and in responding to threats of litigation, Baylor will necessarily communicate internally

about the subject matter of the litigation, including to obtain information about the underlying subject

matter of the litigation and to gather documents. As worded, Plaintiffs’ proposal does not include any

exclusion for such communications or documents and would require Baylor to log all of its internal

communications about the litigation.


 53.     Any documents and communications within, from or to the Athletics Department
         concerning any Issues of Concern.


Baylor’s Proposal: The parties agree this request only seeks documents and communications
regarding “Issues of Concern” consistent with the Court’s Orders (Dkt. 146, 302, 631) limiting the
definition of “Issues of Concern.” The parties further agree that this request is limited to the time
period between 2003 and November 6, 2017. The parties further agree that these requests do not
seek documents exchanged with and communications with Baylor’s Office of General Counsel or
outside counsel regarding matters that are or were the subject of pending or threatened litigation after
a potential claimant had retained outside counsel and that were about the pending or threatened
litigation. Based on this agreement, Baylor will withdraw all of its objections to these requests, with
the exception of its objections based on the attorney-client and work product privileges (except to the
extent the attorney-client privilege has been waived pursuant to Court Order (Dkt. 168)). Baylor will
log responsive document and communications that it is withholding based on the attorney-client and
work product privileges.

Plaintiffs Proposal: The parties agree this request only seeks documents regarding “Issues of
Concern” consistent with the Court’s Orders (Dkt. 146, 302, 631) limiting the definition of “Issues of
Concern.” The parties further agree that this request is limited to the time period between 2003 and
November 6, 2017. Based on this agreement, Baylor will withdraw all of its objections to these
requests, with the exception of its objections based on the attorney-client and work product privileges
(except to the extent the attorney-client privilege has been waived pursuant to Court Order (Dkt.
168)). Baylor will log responsive document and communications that it is withholding based on the



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attorney-client and work product privileges. Based on this agreement, Baylor will withdraw objections
to this request.

        This request raises the same privilege issues as RFPs 48-50, which Baylor has attempted to

address with its proposed language. Once again, Plaintiffs’ proposal ignores those concerns, although

they previously verbally agreed to such a limitation.


 56.     Any documents, communications or records pertaining to the assailants alleged in
         this case.


Baylor’s Proposal: The parties agree that this request does not seek documents reflecting financial
aid received by the alleged assailants except in connection with the issues relating to the rescission and
appeal of any athletic scholarship. The parties further agree that, to the extent it has not already done
so, Baylor will produce the alleged assailants’ academic and disciplinary records (including their BUPD,
Title IX, Judicial Affairs, and OALA files/records), as well as documents resulting from ESI searches
using the assailants’ names, which will be sufficient to comply with this request. Baylor has already
produced all these files, with the exception of OALA files, for the alleged assailants of Jane Does 1-
10, and Baylor agrees to provide this same information for Jane Does 11-15’s alleged assailants. The
parties agree that this request does not seek communications with or documents prepared by outside
counsel or internally at Baylor regarding any of the alleged assailants in connection with Baylor’s
defense of this litigation or any other litigation. The parties further agree that these requests do not
seek documents or communications about such matters exchanged between Baylor and opposing
counsel in such litigation, or litigation files maintained by outside counsel or internally within Baylor.
Based on this agreement, Baylor will withdraw all of its objections to these requests, with the exception
of its objections based on the attorney-client and work product privileges (except to the extent the
attorney-client privilege has been waived pursuant to Court Order (Dkt. 168)). Baylor will log
responsive documents and communications that it is withholding based on the attorney-client and
work product privileges. Notwithstanding the above agreements, Baylor agrees to produce
communications with counsel for the plaintiff in C.A. No. 6:18-cv-00341-RP (W.D. Tex.). Baylor
further represents that there are no other prior or pending lawsuits or threatened litigation against
Baylor involving any of Jane Does 1-15’s alleged assailants.

Plaintiffs’ Proposal: Regarding documents reflecting financial aid received by the alleged assailants,
the parties agree to limit production of these documents as contemplated in the Court’s Order 585
and reflected in the parties previous agreement reflected in Dkt. 587. The agreement to limit
specifically excludes non-voluminous records related to Assailants 16 or 17 or related to Assailant 16’s
financial aid appeal including any pending or threatened litigation related to the appeal. The parties
further agree that, to the extent it has not already done so, Baylor will produce the alleged assailants’
academic and disciplinary records as well as documents resulting from ESI searches using the
assailants’ names, which will be sufficient to comply with this request. Baylor agrees to provide this
same information for Jane Does 11-15’s alleged assailants. Based on this agreement, Baylor will
withdraw all of its objections to these requests (except to the extent the attorney-client privilege has
been waived pursuant to Court Order (Dkt. 168)). Baylor will log responsive documents and
communications that it is withholding based on the attorney-client and work product privileges.


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        This request presents the same issues as RFP 42 relating to privilege and communications with

opposing counsel in the lawsuit involving one of the alleged assailants and the Kinyon matter, and

Baylor proposed similar language to resolve the issues as it proposed for RFP 42. Plaintiffs’ proposal

fails to address the above issues other than to continue to include such communications and

documents within the scope of the request, and to require logging of the communications and

documents—including even privileged communications with outside counsel about this litigation.


 61.     All documents, communications and academic records, including conduct and
         honor code records, which relate to or mention each of the Plaintiffs.


Baylor’s Proposal: The parties agree that this request does not seek documents and communications
exchanged by and between Baylor agents and representatives, including Baylor’s internal and external
counsel, about issues related to this litigation involving Plaintiffs after the date Plaintiffs filed suit. The
parties agree that the request seeks documents pertaining to Jane Does 1-10’s Title IX files, academic
records, Judicial Affairs files, financial aid files, health/counseling records, BUPD files, OALA files,
and documents resulting from ESI searches using the Jane Does’ names. Baylor agrees to provide
this same information for Jane Does 11-15. Based on this agreement, Baylor will withdraw all of its
objections to these requests, with the exception of its objections based on the attorney-client and work
product privileges (except to the extent the attorney-client privilege has been waived pursuant to Court
Order (Dkt. 168)). Baylor will log responsive document and communications that it is withholding,
if any, based on the attorney-client and work product privileges.

Plaintiff’s Proposal: The parties agree that this request does not seek documents and
communications exchanged by and between Baylor and its lawyers involving Plaintiffs after the date
Plaintiffs filed suit that are directly related to the litigation. The parties agree that the request seeks
documents pertaining to Jane Does 1-10’s from all Baylor departments and documents resulting from
ESI searches using the Jane Does’ names. Baylor agrees to provide this same information for Jane
Does 11-15. Based on this agreement, Baylor will withdraw all of its objections to these requests, with
the exception of its objections based on the attorney-client and work product privileges (except to the
extent the attorney-client privilege has been waived pursuant to Court Order (Dkt. 168)). Baylor will
log responsive document and communications that it is withholding, if any, based on the attorney-
client and work product privileges.

        This request presents the same issues as RFP 42, except this RFP pertains only to the Jane

Does. As before, Baylor’s proposed language would exclude documents and communications,

internally and with outside counsel, about this litigation.            Plaintiffs’ proposal only excludes




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communications between Baylor and its outside counsel but would require production and/or logging

of internal party communications about the litigation.

        In addition, Baylor proposed language to limit the scope of the request to certain types of files

maintained by Baylor for its students, as well as to ESI searches using the Jane Does’ names. In

response, Plaintiffs broaden the request to seek such documents and communications from “all Baylor

departments” without regard to the parties’ previously agreed upon ESI Custodians. Such a request

would be improper and require Baylor to run the parties’ agreed-upon search terms across every

department at the University, something which is neither proportional or appropriate.


 90.     All agendas for Baylor Executive Council meetings related to Issues of Concern.
 91.     All documents used in any Baylor Executive Council meeting related to Issues of
         Concern.
 92.     All documents and communications provided to the Baylor Executive Council
         related to Issues of Concern.


Baylor’s Proposal: The parties agree these requests only seek documents and communications
regarding “Issues of Concern” consistent with the Court’s Orders (Dkt. 146, 302, 631) limiting the
definition of “Issues of Concern.” The parties further agree that these requests are limited to the time
period between 2003 and November 6, 2017. The parties further agree that these requests do not
seek communications and documents regarding matters that are or were the subject of pending or
threatened litigation after a potential claimant retained outside counsel and that were about the
pending or threatened litigation. Baylor further agrees to provide Plaintiffs with a list of any lawsuits
filed by Baylor students or employees against Baylor from 2003 through November 6, 2017 involving
Issues of Concern, as well as a list of any employees from whom it has received a demand letter from
outside counsel regarding Issues of Concern. Based on this agreement, Baylor will withdraw all of its
objections to these requests, with the exception of its objections based on the attorney-client and work
product privileges (except to the extent the attorney-client privilege has been waived pursuant to Court
Order (Dkt. 168)).

Plaintiffs’ Proposal: The parties agree these requests only seek documents regarding “Issues of
Concern” consistent with the Court’s Orders (Dkt. 146, 302, 631) limiting the definition of “Issues of
Concern.” The parties further agree that these requests are limited to the time period between 2003
and November 6, 2017. Based on this agreement, Baylor will withdraw all of its objections to these
requests, with the exception of its objections based on the attorney-client and work product privileges
(except to the extent the attorney-client privilege has been waived pursuant to Court Order (Dkt.
168)). Baylor will log responsive documents and communications that it is withholding based on the
attorney-client and work product privileges.



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       Similar to many of the other RFPs above, Baylor’s proposed language excludes documents

and communications, related to actual or threatened litigation, after a potential claimant retained

outside counsel, which were about the pending or threatened litigation. Such communications would

be privileged attorney-client communications. To the extent that any agendas contained such

information, the privileged portion of the agenda would be redacted. Again, Plaintiffs’ proposal

ignores these important privilege concerns.

                                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing motion was served upon all

counsel of record on August 30, 2019, via the Court’s ECF/CMF electronic service system as follows:

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